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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       ROANOKE DIVISION

JAMES LEE CECIL, JR.,                          )
                                               )
          Plaintiff,                           )       Civil Action No. 7:18-cv-00192
                                               )
v.                                             )
                                               )       By: Elizabeth K. Dillon
DOUG BAKER, et al.,                            )           United States District Judge
                                               )
          Defendants.                          )

                                    FINAL ORDER OF DISMISSAL

          This case was brought by the pro se plaintiff, James Lee Cecil, Jr., on April 27, 2018. (Dkt.

No. 1.) On May 1, 2018, the court granted him leave to proceed in forma pauperis, (Dkt. No. 3), and

the clerk sent a copy of the pro se handbook and the blank summons forms to Mr. Cecil. Although the

United States Marshal was directed to effect service, that could not be done until Mr. Cecil completed

and returned the summons forms, which he has failed to do. On August 1, 2018, Cecil was notified

that service had not been completed on any of the defendants and that the deadline for accomplishing

such service had passed. (Dkt. No. 4.) In that notice, he was given fifteen days to notify the clerk that

service had been accomplished and warned that if he failed to so notify the clerk, then the defendants

would be dismissed from the suit without prejudice. (Id.) Since that time, no further action has been

taken in this matter aside from his filing a notice of change of address on December 14, 2018. (Dkt.

No. 5.)

          In light of this background, this matter is hereby DISMISSED WITHOUT PREJUDICE

because of plaintiff’s failure to prosecute.

          Entered: April 1, 2019.

                                                       /s/ Elizabeth K. Dillon
                                                       Elizabeth K. Dillon
                                                       United States District Judge
